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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
BETTY JANE AYERS,                    )
                                     )
                  Plaintiff,         )
                                     )
      v.                             )  Civil Action No. 21-0551 (ABJ)
                                     )
ROBERT M. WILKINSON, et al.,         )
                                     )
                  Defendants.        )
____________________________________)


                                  ORDER TO SHOW CAUSE

       For the reasons set forth below, plaintiff is hereby ORDERED to show cause by April 28,

2021 why the Court has subject matter jurisdiction over the action.

       Federal courts are courts of limited jurisdiction and the law presumes that “a cause lies

outside this limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377

(1994); see also Gen. Motors Corp. v. EPA, 363 F.3d 442, 448 (D.C. Cir. 2004) (“As a court of

limited jurisdiction, we begin, and end, with an examination of our jurisdiction.”). Subject matter

jurisdiction may not be waived, and “courts may raise the issue sua sponte.” NetworkIP, LLC v.

FCC, 548 F.3d 116, 120 (D.C. Cir. 2008), quoting Athens Cmty. Hosp., Inc. v. Schweiker, 686

F.2d 989, 992 (D.C. Cir. 1982). Indeed, a federal court must raise the issue because it is

“forbidden . . . from acting beyond [its] authority, and ‘no action of the parties can confer subject-

matter jurisdiction upon a federal court.’” Id., quoting Akinseye v. Dist. of Columbia, 339 F.3d

970, 971 (D.C. Cir. 2003).

       “To state a case or controversy under Article III, a plaintiff must establish standing.” Ariz.

Christian Sch. Tuition Org. v. Winn, 563 U.S. 125, 133 (2011), citing Allen v. Wright, 468 U.S.

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737, 751 (1984); see also Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). Standing is a

necessary predicate to any exercise of federal jurisdiction, and if it is lacking, then the dispute is

not a proper case or controversy under Article III, and federal courts have no subject-matter

jurisdiction to decide the case. Dominguez v. UAL Corp., 666 F.3d 1359, 1361 (D.C. Cir. 2012).

       To establish constitutional standing, a plaintiff must demonstrate that (1) she has suffered

an injury-in-fact; (2) the injury is “fairly traceable to the challenged action of the defendant”; and

(3) it is “likely, as opposed to merely speculative, that the injury will be redressed by a favorable

decision.” Lujan, 504 U.S. at 560–61, quoting Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26,

41–43 (1976) (internal quotation marks and edits omitted); see also Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. Inc., 528 U.S. 167, 180–81 (2000). The party invoking federal jurisdiction

bears the burden of establishing standing. Lujan, 504 U.S. at 561.

       Given those prerequisites, there are two issues that must be addressed in this case: injury-

in-fact and redressability. To allege the first element of standing, injury-in-fact, a plaintiff must

demonstrate that she has “suffered ‘an invasion of a legally protected interest’ that is ‘concrete and

particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo, Inc. v. Robins,

136 S. Ct. 1540, 1548 (2016), quoting Lujan, 504 U.S. at 560. To be “concrete,” the injury “must

actually exist,” meaning that it is real, and not abstract, although concreteness is “not . . .

necessarily synonymous with ‘tangible.’” Id. at 1548–49. And to be “particularized,” the injury

must affect a plaintiff “in a personal and individual way.” Id. at 1548, quoting Lujan, 504 U.S. at

560 n.1. Significantly for this case, a “plaintiff raising only a generally available grievance about

government – claiming only harm to his and every citizen’s interest in proper application of the

Constitution and laws, and seeking relief that no more directly and tangibly benefits him than it

does the public at large – does not state an Article III case or controversy.” Lujan, 504 U.S. at

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573–74; see also Am. Legal Found. v. FCC, 808 F.2d 84, 92 (D.C. Cir. 1987) (observing that such

a showing requires “more than allegations of damage to an interest in ‘seeing’ the law obeyed or

a social goal furthered”).

           Therefore, plaintiff must show cause why she has alleged sufficient facts to establish that

she has suffered the injury-in-fact that is necessary to confer standing to pursue this action by April

28, 2021.

           Second, even if plaintiff can allege facts to demonstrate that she has been injured in a

particularized way by the conduct of which she complains, she must also show that it is likely that

her injury will be redressed by a favorable decision. “To satisfy this element, a plaintiff must show

in the first instance that the court is capable of granting the relief sought.” Love v. Vilsack, 908 F.

Supp. 2d 139, 144–45 (D.D.C. 2012); Swan v. Clinton, 100 F.3d 973, 976 (D.C. Cir. 1996)

(indicating that the “redressability” element of standing entails the question of “whether a federal

court has the power to grant [the plaintiff’s requested] relief”).

           Here, plaintiff seeks a writ of quo warranto under D.C. Code §§ 16-3501–03. Under that

statute:

                  A quo warranto may be issued from the United States District Court for the
                  District of Columbia in the name of the United States against a person who
                  within the District of Columbia usurps, intrudes into, or unlawfully holds or
                  exercises, a franchise conferred by the United States or a public office of
                  the United States, civil or military. The proceedings shall be deemed a civil
                  action.

D.C. Code § 16-3501. Plaintiff must also show cause by April 28, 2021 why her claims are

redressable under this statute. In doing so, she must address why the Court would be capable of

ordering any of the things she requests, including ordering: (1) public officials to resign; (2) the

military to arrest and prosecute defendants for treason; (3) the military “to look through the entirety


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of all government resources, records, division, and agencies for ALL blackmail tapes of anyone in

any government position past or present”; (4) the military or other government officials to confer

with private citizens in order to obtain evidence; (5) the military to oversee replacement elections.

Cf. Compl. [Dkt. # 1] at 15–26; see generally Heckler v. Chaney, 470 U.S. 821, 831 (1985) (“This

Court has recognized on several occasions over many years that an agency’s decision not to

prosecute or enforce, whether through civil or criminal process, is a decision generally committed

to an agency’s absolute discretion.”).

       SO ORDERED.




                                              AMY BERMAN JACKSON
                                              United States District Judge

DATE: April 7, 2021




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